Case 7:20-cv-00342-EKD Document 73 Filed 06/08/21 Page 1 of 7 Pageid#: 366




                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                    ROANOKE DIVISION
    DANIEL NOTESTEIN,                          )
    BLOCKTRADES INTERNATIONAL, LTD.,           )
    ANDREW CHANEY,                             )
    SZYMON LAPINSKI,                           )
    ADAM DODSON,                               )
    ELMER LIN,                                 )
    DANIEL HENSLEY,                            )
    MICHAEL WOLF,                              )
    MATHIEU GAGNON, and                        )
    MARTIN LEES                                )
                                               )
           Plaintiffs                          )    Civil Action No.: 7:20-cv-000342
                                               )
    v.                                         )
                                               )
    BITTREX, INC.,                             )
    and                                        )
    J. DOE                                     )
                                               )
           Defendants                          )
                                               )
    and                                        )
                                               )
    STEEMIT, INC.                              )
                                               )
           Third-Party Defendants              )

               MEMORANDUM IN RESPONSE TO ORDER TO SHOW CAUSE

           Now comes the Plaintiffs, by counsel, and file their Memorandum in Response to the Order

    of the Court to Show Cause, and show the following:

                                              I. FACTS

           The Plaintiffs are the owners of Steem and Steem-backed Dollars that were confiscated,

    placed in the community321 account, and delivered to the custody of Defendant Bittrex, Inc.

    (“Bittrex”). Declarations of Daniel Notestein, Andrew Chaney, Syzmon Lapinski, Adam Dodson,

    Elmer Lin, Daniel Hensley, Michael Wolf, Mathieu Gagnon, and Martin Lees. Dkt. 20-1, p. 2;




                                                  1
Case 7:20-cv-00342-EKD Document 73 Filed 06/08/21 Page 2 of 7 Pageid#: 367




    Dkt. 20-2; Dkt. 20-3; Dkt. 20-4; Dkt. 20-5; Dkt. 20-6; Dkt. 20-7; Dkt. 20-8; Dkt. 20-9. Plaintiffs

    contacted Bittrex and provided proof of ownership, but Bittrex refused to return their property to

    the Plaintiffs’ control. Id. Bittrex also refused to tell the Plaintiffs if any other party was making a

    claim to the community321 account. Declaration of Daniel Notestein, Dkt. 20-1, p. 3.

           At the time this action was filed, Plaintiffs may have suspected that Steemit, Inc.

    (“Steemit”) wanted their property, but they did not know if Steemit would make a public claim or

    publicly state their involvement in a partially executed theft. Plaintiffs had no actual knowledge of

    any other party making a claim to their property. Similarly, while Plaintiffs may have suspected

    Bittrex was allied with Steemit, they had no actual knowledge. A claim that Steemit could deprive

    a member of their investment at any time for any reason was not a business model the Plaintiffs

    were willing to assume on behalf of Steemit. Because of their lack of factual information as to

    whether there was another party they wished to sue, Plaintiffs named J. Doe as a party.

           When Bittrex filed its Answer and Counterclaim, Dkt. 7, the situation was no more clear.

    Bittrex represented to the Court it was in contact with a party or parties who “instructed” Bittrex

    to withhold the Plaintiffs’ property. Bittrex refused to reveal the identity of the instructor(s).

    Answer and Counterclaim, Dkt. 7, p. 4. Although Plaintiffs learned a month later that Steemit was

    the source of the instruction, Bittrex did not assert that Steemit made a claim of ownership.

    Declaration of Claire Martirosian, Dkt. 15-3.

           Eventually Bittrex made a claim of ownership on behalf of Steemit to what is now referred

    to as the Disputed Steem. It did so by offering a self-serving letter authored by counsel for Steemit

    as an exhibit to Bittrex, Inc.’s Reply in Support of Motion to Deposit Disputed Cryptocurrenty

    into the Court Registry. Dkt. 25-3.

           The Plaintiffs still did not have actual knowledge as to when the Bittrex/Steemit alliance




                                                       2
Case 7:20-cv-00342-EKD Document 73 Filed 06/08/21 Page 3 of 7 Pageid#: 368




    took hold. It was only in Bittrex’s Reply in Support of Motion for Approval of Interpleader Bond

    and Judgment of Interpleader that Bittrex admitted it had been in conversation with a party, that

    can be fairly assumed to be Steemit, from the beginning. Supplemental Declaration of Kevin

    Hamilton in Reply in Support of Motion for Approval of Interpleader Bond and Judgment of

    Interpleader, Dkt 66.

       BlockTrades, Ltd. is a corporation. Attached is the Certificate of Incorporation. The

    document is self-certifying at the website referenced in the bottom right corner. The Plaintiffs’

    Complaint includes “Ltd.” as part of the BlockTrades, Ltd. name. “Ltd.: A designation following

    a corporate business name and indicating its corporate and limited liability status. It is found

    most commonly after British and Canadian corporate names”. Black’s Law Dictionary, Fifth

    Edition. The Cayman Islands is a British Overseas Territory.

       The Complaint also asserts Daniel Notestein, a resident of Blacksburg, Virginia, is president

    of BlockTrades, Ltd. By way of clarification, the Western District of Virginia is the primary

    place of business of the corporation.

                                II. J. DOE CASES IN FEDERAL LAW

    A. The Fourth Circuit

           The Fourth Circuit allows actions against J. Doe defendants in cases against “real, but

    unidentified, defendants”. Schiff v. Kennedy, 691 F.2d 196, 198 (4th Cir. 1982). Schiff is

    especially apt because, as in the instant case, Schiff involved a defendant who refused to identify

    her J. Doe partner.

           While we recognize the necessity for allowing John Doe suits in the federal
           courts, we are not unaware of the right of the district court to manage its docket
           and the danger of permitting suits with unnamed parties to remain on the docket
           unprosecuted. Thus, if it does not appear that the true identity of an unnamed
           party can be discovered through discovery or through intervention by the
           court, the court could dismiss the action without prejudice.




                                                     3
Case 7:20-cv-00342-EKD Document 73 Filed 06/08/21 Page 4 of 7 Pageid#: 369




    Id. (emphasis added).

           Plaintiffs have requested the opportunity to engage in discovery, in part, in order to

    affirmatively identify Doe participants. Should the Court deny them this opportunity, the

    appropriate remedy would be to dismiss J. Doe without prejudice, or to allow the Plaintiffs to

    amend their complaint. Id.; Sandler v. Western State Hospital, Civil Action No. 5:02CV00107

    (W.D. Va. Nov. 18, 2003), p. 6; 28 U.S.C. §1653; Nutter v. New Rents, Inc., 945 F.2d 398 (4th

    Cir. 1991); Gradillas Court Reporters, Inc. v. Cherry Bekaert, LLP, No. 19-1098 (4th Cir. Mar.

    31, 2020).

    B. Howell by Goerdt v. Tribune Entertainment Co., 106 F.3d 215 (7th Cir.1997)

           The Order to Show Cause of this Court cites Howell by Goerdt v. Tribune

    Entertainment Co., 106 F.3d 215 (7th Cir.1997), as prohibiting unidentified defendants in

    federal diversity cases. The only exceptions recognized by Howell are for a nominal party, which

    Howell defines as “irrelevant to diversity jurisdiction” and “unnecessary to the proper resolution

    of the controversy” or for a fugitive from justice. Id., at 218.

           A defendant who is “unnecessary to the proper resolution of the controversy” is one who

    is

           included in the complaint "in the event that during discovery [a plaintiff]
           identifie[s] any additional defendants he wishe[s] to add to the suit." Moore v.
           General Motors Pension Plans,91 F.3d 848, 850 (7th Cir. 1996). On the other
           hand, Doe Defendants are not nominal if they are included because "the plaintiff
           knows that there are specific additional defendants he wishes to sue, but is simply
           uncertain as to their names." Id.

    Lee v. Airgas-Mid S., Inc., 793 F.3d 894 (8th Cir. 2015).

           In the instant case, it is not necessary to know with whom Bittrex was working in order to

    determine whether Bittrex committed the tortious acts set out in the Plaintiffs’ Complaint.




                                                      4
Case 7:20-cv-00342-EKD Document 73 Filed 06/08/21 Page 5 of 7 Pageid#: 370




    Should the Court decide to follow the rule in Howell, J. Doe is a nominal party and their

    inclusion in this action does not destroy diversity.

           Federal Rule of Civil Procedure 21 permits the Court to drop J. Doe as a party.

           [I]t is well-settled that nondiverse parties may be dismissed in order to preserve
           diversity jurisdiction. Miller v. Leavenworth-Jefferson Elec. Coop., Inc.,653 F.2d
           1378, 1382 (10th Cir. 1981); Jett [v. Phillips & Associates, 439 F.2d 987],989-
           990 (10th Cir. 1971); see Harris v. Illinois-California Express, Inc.,687 F.2d 1361,
           1369 (10th Cir. 1982) ("a non-diverse party whose presence is not essential under
           Rule 19, . . . may be dropped to achieve diversity"); 7 C. Wright, A. Miller M.
           Kane, Federal Practice and Procedure, § 1685, at 457 (2d ed. 1986) ("Courts
           frequently employ Rule 21 to preserve diversity jurisdiction over a case by
           dropping a nondiverse party if his presence in the action is not required under
           Rule 19.").

    Tuck v. United Services Automobile Ass'n, 859 F.2d 842, 845 (10th Cir. 1988). If the Court

    should find J. Doe is not a nominal party, Plaintiffs request the Court take this action.

    C. Authority Contrary to Howell

           Although Howell is the law of the Seventh Circuit, it is not universally accepted. Courts

    that do not follow Howell often follow Macheras v. Center Art Galleries-Hawaii, Inc., 776 F.

    Supp. 1436 (1991). Macheras discussed Bryant v. Ford Motor Co., 844 F.2d 602 (9th

    Cir.1987) and its aftermath. In Bryant, the Ninth Circuit Court of Appeals held the inclusion

    of a J. Doe defendant destroyed diversity jurisdiction and prevented removal of a case from

    state court. Congress responded by amending 28 U.S.C. § 1441(b)(1) to state: “In determining

    whether a civil action is removable on the basis of the jurisdiction under section 1332(a) of

    this title, the citizenship of defendants sued under fictitious names shall be disregarded.”

           Although Congress amended § 1441, it did not amend § 1332. This left an

    inconsistency between the two statutes where a defendant could remove a case to federal

    court, but a plaintiff could not initiate it there. The Macheras Court did not believe Congress

    intended to create an imbalance of power between plaintiffs and defendants in choice of




                                                      5
Case 7:20-cv-00342-EKD Document 73 Filed 06/08/21 Page 6 of 7 Pageid#: 371




    forum. Macheras, 776 F. Supp. at 1440. Furthermore, the Macharas decision followed the pre-

    Bryant line of authority that allowed state Doe statutes to be applied under the Erie doctrine.

    Id., citing Lindley v. General Elec. Co., 780 F.2d 797, 800-01 (9th Cir.1986), cert. denied 476

    U.S. 1186, 106 S.Ct. 2926, 91 L.Ed.2d 554 (1986).

           Although this line of cases does permit Doe defendants in federal diversity cases, some

    of the cases warn the plaintiff runs the risk that a non-diverse Doe may be revealed as

    discovery proceeds. Macheras, 776 F. Supp. at 1440; Johnson v. Rite Aid, ABC Corp. 1-3, Civ.

    No. 10-2012 (DMC) (JAD) (D.N.J. June 28, 2011). Other cases suggest this problem could be

    cured by dropping a party pursuant to F.R.C.P. 21. Doe v. Ciolli, 611 F.Supp.2d 216, 220

    (D.Conn.2009).

           WHEREFORE, Plaintiffs respectfully request that this Court find maintain jurisdiction of

    this Action.

           Respectfully submitted this 8th day of June, 2021,

                                                DANIEL NOTESTEIN
                                                BLOCKTRADES INTERNATIONAL, LTD.
                                                ANDREW CHANEY
                                                SZYMON LAPINSKI
                                                ADAM DODSON
                                                ELMER LIN
                                                DANIEL HENSLEY
                                                MICHAEL WOLF
                                                MATHIEU GAGNON
                                                MARTIN LEES


                                                By: __s/Michelle C. F. Derrico________________
                                                     Of Counsel


    Michelle C. F. Derrico, Esq. (VSB 34037)
    Richard L. Derrico, Esq. (VSB 33442)
    Copenhaver, Ellett & Derrico
    30 Franklin Road, SW, Suite 200




                                                   6
Case 7:20-cv-00342-EKD Document 73 Filed 06/08/21 Page 7 of 7 Pageid#: 372




    Roanoke, VA 24011
    (540) 343-9349
    (540) 342-9258 facsimile
    michelle@cecd.roacoxmail.com
    rick@cecd.roacoxmail.com
           Counsel for the Plaintiffs


                                    CERTIFICATE OF SERVICE

           The undersigned hereby certifies that a true and correct copy of the foregoing

    Memorandum in Support of Motion for Leave to File Amended Complaint was served via

    CM/ECF system, which will send notification of such filing all counsel of record, this 8th day of

    June, 2021.

                                                _______/s/ Michelle C. F. Derrico_________
                                                                     Of Counsel




                                                   7
